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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 FERCAN E. KALKAN, individually,                   §
 and PINEY POINT 2023, LLC,                        §
                                                   §
         Plaintiffs,                               §
                                                   §
 v.                                                § Civil Action No. 4:24-cv-02548
                                                   §
 FANNIE MAE and GAVRIEL TOSO,                      §
 as Substitute Trustee,                            §
                                                   §
         Defendants.                               §

                                    JOINT STATUS REPORT

         Defendants Federal National Mortgage Association (“Fannie Mae”) and Gavriel Toso, as

Substitute Trustee (the “Substitute Trustee” and together with Fannie Mae, the “Defendants”)

file this status report together with Plaintiffs Fercan E. Kalkan, individually (“Kalkan”), and Piney

Point 2023, LLC (“Piney Point,” and together with Kalcan, the “Plaintiffs”), as requested by the

Court.

                                              Summary

         1.     The parties are still discussing settlement.

         2.     The parties are fine with the Court conducting an Initial Pretrial Conference on

January 14, 2025.
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Dated: December 19, 2024                          Respectfully submitted,
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                                                     Counsel for Defendants


                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing has been served on all parties
of record on December 19, via the Court’s ECF system.

                                                       /s/ Mukul S. Kelkar
                                                       Mukul S. Kelkar




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